Case 23-10763-amc            Doc 753       Filed 10/02/24 Entered 10/02/24 13:49:27                    Desc Main
                                          Document Page 1 of 1



                       IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                                       :
     In re:                                            :   Chapter 11
                                                       :
     Stream TV Networks, Inc., et al.                  :   Bankruptcy No. 23-10763 (AMC)
                                                       :   (Jointly Administered)1
                            Debtors.                   :
                                                       :

                                             CONSENT ORDER

              AND NOW, this      2nd         day of October            , 2024, upon consideration of the

 stipulation of the parties through counsel, the time within which the Trustee may file a response

 to the Local Rule 2016-5 Sixth Request for Payment on Account for Compensation and

 Reimbursement of Expenses of Lewis Brisbois Bisgaard & Smith LLP, for the Periods

 December 1, 2023 through December 31, 2023 and January 1, 2024 through January 15, 2024

 (D.I. #722) and/or the Final Application of Lewis Brisbois Bisgaard & Smith, LLP for

 Allowance and Payment of Compensation and Reimbursement of Expenses for the Period from

 March 15, 2023 Through January 15, 2024 (D.I. #723) in the above captioned jointly

 administered bankruptcy cases is extended to on or before October 28, 2024.



                                                              BY THE COURT:




                                                              The Honorable Ashely M. Chan
                                                              Chief United States Bankruptcy Judge




 1
  On April 11, 2023, the Court entered an order directing joint administration of the above-captioned case and In re
 Technovative Media, Inc.; Case No. 23-10764 (AMC). (D.I. #81).


 4881-6364-1059
